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                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    Andrew Perrong                                         :             Civil Action
                                                           :
    v.                                                     :
                                                           :
    John Doe Corporation d/b/a National                    :             No.: 2:21-cv-04185-CDJ
    Advocates, et al.

                                                        ORDER

                  AND NOW, this                day of                                    20, it is hereby

                                                    David M. Krueger
                  ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                     GRANTED.1

                     DENIED.




                                                                                                      , J.




1This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registrat ion
process for the Court's ECF system. Instructions and forms are available on the Court website.
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                                               IN THE UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                 Civil Action No#

                       APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                 PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I,                                                       the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:

                   (State where admitted)            (Admission date)               (Attorney Identification Number)


                    (State where admitted)            (Admission date)              (Attorney Identification Number)


                    (State where admitted)            (Admission date)              (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:


                   (Court where admitted)            (Admission date)               (Attorney Identification Number)


                   (Court where admitted)             (Admission date)              (Attorney Identification Number)


                   (Court where admitted)             (Admission date)              (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for              ___________________________________________
                                                     (Applicant’s Signature)

                                                     ___________________________________________
                                                     (Date)




       I declare under penalty of perjury that the foregoing is true and correct.


       Executed on __________________________                                     ______________________________________
                            (Date)                                                        (Applicant’s Signature)

                                                                                                                            04/20
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I.B.    Federal Court Admissions:



Court                                          Admission Date

U.S.D.C., Northern District of Ohio              12/29/2009

U.S.D.C., Southern District of Ohio              8/30/2012

U.S.D.C. District of Colorado                    7/2/2013

U.S.D.C., Eastern District of Wisconsin          5/19/2016

U.S.D.C., Southern District of Indiana           3/10/2017

U.S.D.C., Southern District of Illinois          3/19/2017

U.S.D.C., Western District of Texas              4/10/2017

U.S.D.C., Northern District of Illinois          3/14/2019

U.S.D.C., Western District of Michigan           7/29/2019

U.S.D.C., Eastern District of Michigan           8/22/2019


Sixth Circuit Court of Appeals                   7/30/2010

Fourth Circuit Court of Appeals                  10/29/2015

Seventh Circuit Court of Appeals                 5/11/2018

Eleventh Circuit Court of Appeals                9/19/2018
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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Andrew Perrong                                            :             Civil Action
                                                          :
v.                                                        :
                                                          :
John Doe Corporation d/b/a National                       :             No.:
Advocates, et al.

                                             CERTIFICATE OF SERVICE


                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:




                                                                        ____________________________________
                                                                        (Signature of Attorney)

                                                                        ____________________________________
                                                                        (Name of Attorney)

                                                                        ____________________________________
                                                                        (Name of Moving Party)

                                                                        ___________________________________
                                                                        (Date)
